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                      UNITED STATES BANKRUPTCY COURT
                               Western District of Kentucky
      IN RE:                                       Case No.:17−10910−jal
      Rachel L. Gaither




             NOTICE OF CASE CLOSED WITHOUT DISCHARGE




      Final Decree, discharging trustee, if applicable, and canceling bond. Case closed
      without discharge. Debtor has not filed a Financial Management Course Certificate
      proving compliance with the required instructional course requirement for discharge. If
      the debtor(s) subsequently file(s) a Motion to Reopen the Case to allow for the filing of
      the Financial Management Course Certificate, the debtor(s) must pay the full filing fee
      due for filing such a motion. (Preston, T)


      Dated: 1/3/18
                                          ENTERED BY ORDER OF THE COURT
                                          United States Bankruptcy Court
                                          Elizabeth H. Parks
